

Matter of Kaye v Kaye (2021 NY Slip Op 05239)





Matter of Kaye v Kaye


2021 NY Slip Op 05239


Decided on October 1, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 1, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CARNI, NEMOYER, TROUTMAN, AND WINSLOW, JJ.


820 CAF 20-01532

[*1]IN THE MATTER OF BENJAMIN C. KAYE, PETITIONER,
vKAREN C. KAYE, RESPONDENT-RESPONDENT. -- SUSAN B. MARRIS, ESQ., ATTORNEY FOR THE CHILD, APPELLANT. (APPEAL NO. 1.) 






SUSAN B. MARRIS, MANLIUS, ATTORNEY FOR THE CHILD, APPELLANT PRO SE.
KAREN C. KAYE, RESPONDENT-RESPONDENT PRO SE. 
ANASTASIA C. GAGAS, OSWEGO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Oswego County (Allison J. Nelson, J.), entered July 29, 2020 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: October 1, 2021
Ann Dillon Flynn
Clerk of the Court








